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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                  )
 IN RE: AQUEOUS FILM-FORMING                      )    MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                         )
 LITIGATION                                       )    ORDER AND OPINION
                                                  )
                                                  )    This Order Relates to
                                                  )    City of Stuart, Fl. v. 3M Co., et al.,
                                                  )    Case No. 2:18-cv-3487-RMG
                                                  )
                                                  )


        Before the Court is Plaintiff’s motion in limine no. 2 to preclude evidence of other possible

sources of contamination (Dkt. No. 2918).        For the reasons set forth below, the Court denies

Plaintiff’s motion.

I.      Background

        Plaintiff the City of Stuart (“Plaintiff,” “Stuart” or the “City) alleges that various

Defendants manufactured and distributed aqueous film-forming foam (“AFFF”) and/or

fluorosurfactant additives for use in AFFF that contaminated the City’s water supply with PFAS,

including PFOS and PFOA. (City of Stuart, Fl. v. 3M Co., et al., 2:18-cv-3487-RMG, Dkt. No. 54,

¶ 1).

        On March 24, 2023, Plaintiff filed a motion in limine to exclude evidence of other possible

sources of contamination at Stuart. (Dkt. No. 2918). Defendants oppose. (Dkt. No. 2966)

        Plaintiff’s motion is fully briefed and ripe for disposition.
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II.      Legal Standard

         Although not specifically provided for in the Federal Rules of Evidence, motions in limine

“ha[ve] evolved under the federal courts’ inherent authority to manage trials.” United States v.

Verges, Crim. No. 1:13-222, 2014 WL 559573, at *2 (E.D. Va. Feb. 12, 2014). “The purpose of

a motion in limine is to allow a court to rule on evidentiary issues in advance of trial in order to

avoid delay, ensure an even-handed and expeditious trial, and focus the issues the jury will

consider.” Id. “Questions of trial management are quintessentially the province of the district

courts.” United States v. Smith, 452 F.3d 323, 332 (4th Cir. 2006); see also United States v.

McBride, 676 F.3d 385, 403 (4th Cir. 2012) (“[A]ssessing [whether evidence is] relevan[t] is at

the heart of the district court's trial management function.”). A district court therefore has “broad

discretion” in deciding a motion in limine. Kauffman v. Park Place Hosp. Grp., 468 F. App’x 220,

222 (4th Cir. 2012). Nonetheless, a motion in limine “should be granted only when the evidence

is clearly inadmissible on all potential grounds.” Verges, 2014 WL 559573, at *3.

III.     Discussion

         Plaintiff moves to preclude Defendants from introducing “any inquiry, evidence, and/or

testimony regarding other possible sources of Stuart’s PFAS contamination other than AFFF,

absent a proven and substantiated foundation.” (Dkt. No. 2918 at 3). Specifically, Plaintiff alleges

that “while Defendants’ experts opine that there exists a variety of possible PFAS sources,

Defendants’ experts fail to tie these possible sources to the contamination of Stuart’s drinking

water.” (Id. at 1).

         A “defendant may offer evidence of potential alternative causes of a disease or injury

without needing to prove those alternative-cause theories with certainty or probability.” Woodruff



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v. R.J. Reynolds Tobacco Co., No. 3:09-CV-12594, 2015 WL 506281, at *1 (M.D. Fla. Feb. 6,

2015) (citing Aycock v. R.J. Reynolds Tobacco Co., 769 F.3d 1063, 1069–70 (11th Cir.2014)

(stating that any other rule would “improperly shift[ ] the burden of proof”)). Under Aycock,

“courts treat evidence produced by plaintiffs to prove causation differently than they treat evidence

produced by defendants to rebut causation.” 769 F.3d at 1069. While “the plaintiff bears the burden

of proving that the defendant's negligence more likely than not caused the injury, that burden does

not logically compel[ ] the conclusion that the defendant [ ] is precluded from offering evidence

of possible explanations other than his own ... negligence.” Id. (internal quotation marks omitted);

In re 3M Combat Arms Earplug Prod. Liab. Litig., No. 3:19MD2885, 2022 WL 823474, at *4

(N.D. Fla. Mar. 19, 2022) (noting a defense expert “may offer evidence of potential alternative

causes of [an] injury without needing to prove those alternative-cause theories with certainty or

probability” so long as based in the factual record).

       The Court denies Plaintiff’s motion. Defendants cite excerpts from the expert reports of

Caroline Tuit, Ph.D. and Tiffany Thomas, Ph.D., (Dkt. No. 2966 at 14), where both individuals

describe specific alternative sources of PFAS based on the factual record. For her part, Tuit

describes, on pages 48-57 of her report, why she believes the containers of pesticides used in Stuart

are a source of PFAS. As to Thomas, she describes on pages 34-36 and 47 of her report why she

believes landfill leachate, wastewater effluent, mist and fume suppressants, and dry cleaners are a

source of PFAS in Stuart. To the extent, at trial, Defendants attempt to introduce purely

hypothetical theories of PFAS contamination in Stuart devoid of a factual basis and Plaintiff

objects to such testimony, the Court will consider the matter further at that time. See In re Welding

Fume Prod. Liab. Litig., No. 1:03-CV-17000, 2010 WL 7699456, at *73 (N.D. Ohio June 4, 2010)

(granting in part motion in limine regarding “other possible causes of [plaintiff’s] neurological



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injury,” holding that “Defendants may not suggest at trial, for example, that a plaintiffs'

neurological condition might have been caused by some other, hypothetical toxic exposure, like

carbon monoxide, if there is no evidentiary, factual basis for that suggestion. Nor may defendants

suggest the plaintiff's neurological condition was caused by some other, actual, known toxic

exposure, unless there exists an admissible expert opinion that this known toxic exposure can cause

the plaintiff's condition”); see also Fed. R. Evid. 401.

IV.      Conclusion

         For the foregoing reasons, the Court denies Plaintiff’s motion in limine no. 2 (Dkt. No.

2918).

         AND IT IS SO ORDERED.



                                                       _s/ Richard Mark Gergel_________
                                                       Richard Mark Gergel
                                                       United States District Judge
May 12, 2023
Charleston, South Carolina




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